           Case 1:11-cr-00303-DAD-BAM Document 85 Filed 03/05/15 Page 1 of 3



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 5

 6 Attorneys for Plaintiff

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                               CASE NO. 1:11-cr-00303-AWI-BAM
12                                 Plaintiff,
                                                             STIPULATION TO CONTINUE
13   v.                                                      MOTION HEARING; VACATE
                                                             TRIAL; EXCLUDABLE TIME
14   THANOUSONE VOLARAT,                                     PERIODS UNDER SPEEDY TRIAL
                                                             ACT; FINDINGS AND ORDER
15                                 Defendant,
16

17
            Plaintiff United States of America, by and through its counsel of record BENJAMIN B.
18
     WAGNER, United States Attorney and LAUREL J. MONTOYA, Assistant U.S. Attorney, and
19
     defendant by and through his counsel of record, MARC DAYS, hereby stipulate as follows:
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            1.      By previous order, this matter was set for hearing on motions on March 9, 2015 at
21
     10:00 a.m. and the matter was set for jury trial on March 24, 2015 at 8:30 a.m.
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            2.      By this stipulation, government moves to continue the motion hearing to May 18,
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     2015 at 10:00 a.m., or at a time convenient to the court, and to exclude time between March 9, 2015
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     and May 18, 2015, under 18 U.S.C.§ 3161(h)(1)(D). Defense counsel does not oppose this request.
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            3.      By this stipulation, the parties agree to vacate the trial date currently set and set the
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     matter for status conference on the date requested for the hearing on the motions, May 18, 2015 at
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     10:00 a.m.
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           Case 1:11-cr-00303-DAD-BAM Document 85 Filed 03/05/15 Page 2 of 3



 1          4.     The parties agree and stipulate, and request that the Court find the following:

 2                 a.      Both the government and the defense need additional time to prepare for trial

 3          and litigate the pending motions.

 4                 b.      Counsel for the government needs additional time to respond to the defense

 5          motions.

 6                 c.      The parties have agreed to extend the time for the government to respond and

 7          agree that the government’s response is now due on April 13, 2015. The defendant’s

 8          optional reply is now due May 11, 2015.

 9                 d.      The parties have agreed to continue the date for the hearing on the defendant’s

10          motions to May 18, 2015 at 10:00 a.m. and set a status conference hearing on that date.

11                 e.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

12          3161, et seq., within which trial must commence, the time period of March 9, 2015 to May

13          18, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(1)(D) because it

14          results from a delay while motions are pending before the Court.

15          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of

16 the Speedy Trial Act dictate that additional time periods are excludable from the period within which

17 a trial must commence.

18          IT IS SO STIPULATED.

19 DATED: March 5, 2015                                          /s/ Laurel J. Montoya
                                                                 LAUREL J. MONTOYA
20                                                               Assistant United States Attorney
21 DATED: March 5, 2015                                          /s/ Marc Days
                                                                 MARC DAYS
22                                                               Attorney for Defendant
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           Case 1:11-cr-00303-DAD-BAM Document 85 Filed 03/05/15 Page 3 of 3



 1                                              ORDER

 2         IT IS SO FOUND AND ORDERED that the briefing schedule set forth above is adopted, the

 3 March 24, 2015 jury trial is vacated as to Thanousone Volarat only, the hearing on the defendant

 4 Thanousone Volarat’s motions is continued to May 18, 2015 at 10:00 a.m., and time is excluded

 5 pursuant to 18 U.S.C.§ 3161(h)(1)(D).

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     IT IS SO ORDERED.
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     Dated: March 5, 2015
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                                               SENIOR DISTRICT JUDGE
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